Case: 1:21-cr-00239 DoGurgentGé 7222 Baad Saal Z7Page 1 of 7 PagelD #:319

FD-302 (Rev. 5-8-10) «1 ef 3~

FEDERAL BUREAU OF INVESTIGATION

Date of entry 12/15/2020

RD VE: i), date of birth (DOB) iii, was
interviewed by phone at cellular telephone number yg.
NE resides at es, and his
home telephone number is QM. after being advised of the identity
of the interviewing Agent and the nature of the interview, Ns provided

the following information:

NE s has had life insurance policies through MASS MUTUAL for decades.
Back in 1968, when NE moved from Chattanooga, Tennessee to the
Chicagoland area, MASS MUTUAL referred NE s to a local area office that
sells MASS MUTUAL products. NE: could not recall the name of the

agency.

About two years ago, N@R decided to convert his MASS MUTUAL policies
to annuities. When iii contacted the agency office, he was told he would
have to meet with an agent, and was put in touch with
DANTEL ROSENBAUM (ROSENBAUM) .

Around April 2019, Na: had several policies he wanted to consolidate.
ME: swite, (7 a), had a policy with NEW YORK LIFE worth
approximately $102,000, and another policy at COUNTRY FINANCIAL, worth about
$98,000. Na had a policy in his name at COUNTRY FINANCIAL worth
approximately $65,000. ROSENBAUM assisted with the transfer of those
policies over to another insurance carrier, GLOBAL ATLANTIC FINANCIAL GROUP
(GAFG), FORETHOUGHT LIFE INSURANCE COMPANY.

The two policies through COUNTRY FINANCIAL were transferred between
carriers, so NE s did not handle any of the money directly. However, the
NEW YORK LIFE policy did not work the same way. An agent from NEW YORK LIFE
by the name of DAN SANTOS (SANTOS), telephone number 502-4¥B, had
called Ns and wanted to talk to him about the tax implications of his

Investigationon 12/10/2020 at Orland Park, Illinois, United States (Phone)

File# 318B-CG-3229330 Date drafted 12/10/2020

by Lisa M. Strong

This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not

to be distributed outside your agency.

FBI_001-000348
FD. biaa (Rev: 5-8-1 ASE: 1:21-cr-00239 DogurRgnict; 7222 Baa 9a489/2x7Page 2 of 7 PagelD #:320

318B-CG-3229330
Continuation of FD-302 of (U) i zz! On 12/10/2020 , Page 2 of 3

request. Na: never returned SANTOS' phone call because he did not want
SANTOS talking him out of moving the money.

Ns has reviewed his checking account and has been unable to find
where the NEW YORK LIFE money was either direct deposited or deposited as a
check. Na: did not recall wiring the $102,597.17 to ROSENBAUM either,
but i: intended for the money to fund a policy at GAFG. ROSENBAUM does

not have signatory authority over any of iii: accounts.

NB s®recently asked ROSENBAUM for copies of his policies because he
does not have any documentation other than a letter dated April 2019 from
GAFG, acknowledging the receipt of the $102,597.17. The letter was
addressed to im”. but was sent to ROSENBAUM, who subsequently brought it
to a. The contract number was 735000821.

NBs considers ROSENBAUM a friend. ROSENBAUM visits N@B at his home
regularly and runs errands for him. NE; and ROSENBAUM socialize outside
of Ns ' home as well. Prior to the COVID-19 pandemic, they had been

going out to lunch about once a week. ROSENBAUM also socializes with

NE s: friends.

NEMMMMs had been suspicious of ROSENBAUM at first because he felt it was
unusual for an agent to take a personal interest in the well-being of his
clients. When Ns asked ROSENBAUM about that, ROSENBAUM said that
a: reminded him of his father, and that ROSENBAUM was learning from
NEs, as Ms had previously been in the mail-order insurance

business.

Around January 2020, ROSENBAUM approached “Gs about loaning him money
because ROSENBAUM was experiencing financial problems. Na: wrote
ROSENBAUM a check for $9,000. (Check #1031, dated January 2, 2020, in the

amount of $9,000, drawn on a: account at a a az is

attached.) The following month, ROSENBAUM paid back $6,000 of the $9,000
(Check #7800, dated February 8, 2020, drawn on the FIRST BANK OF HIGHLAND
PARK account of MJ RosENBAUM, with "Dan Rosenbaum 2 payments" in the
memo line is attached). Ns agreed to the loan being interest free and
was considering forgiving the outstanding balance of the loan because of all
the assistance ROSENBAUM has provided him.

In June 2020, mm was admitted to a nursing home for patients living

FBI_001-000349
FD-302a (Rev, $-8-19 ASE: 1:21-cr-00239 DOGUIREAIGE 4322 Bhan Sesa/2yPage 3 of 7 PagelD #:321

318B-CG-322 9330
Continuation of FD-302 of (U) Rim i On 12/10/2020 . Page 3 of 3

with dementia. iii: plans on utilizing the money from their annuities to
pay for mt = care. ROSENBAUM is supposed to come to iii: home either
later today, or tomorrow, to discuss a strategy to withdraw funds from
iii: annuities to pay for JOANN's care at the nursing home facility.

NE s has recently been in the hospital, and while he was away,
ROSENBAUM came over to NS’ house to care for his fish. N@MMMBnas not
given ROSENBAUM a key to his home, however, ROSENBAUM may know where
NBS ides his spare key. When ROSENBAUM came to im”: home
while N@MMMMB was in the hospital, N§§B assumed it was during the time that
iii: housekeeper was there. NEE na < not given ROSENBAUM the garage

code.

NBS agreed to call GAFG to verify his policies and let the

interviewing agent know what he finds.

FBI_001-000350
Case: 1:21-cr-00239 DogurRgnicé 7222 Bhah 9a4g9/4yBPage 4 of 7 PagelD #:322

-1 of 2-
FD-302 (Rev. 5-8-10) .

FEDERAL BUREAU OF INVESTIGATION

Date of entry 03/12/2021

RED NB), cate of birth EM was interviewed
at his place of residence, [iy

MM. 2S After being advised of the identities of the interviewing Agents and
the nature of the interview, Ns provided the following information:

NE; provided the interviewing agents with a copy of an email dated
January 2, 2020 from DANIEL ROSENBAUM (ROSENBAUM), email address
dan@arfinancialgrp.com, to i, email address 9 (see
attached). The email talked about the $9,000 personal loan a: gave to

ROSENBAUM and the terms of repayment. Ns hand wrote a note on the
bottom of the email documenting the one payment ROSENBAUM made to him on

February 7, 2020 for $6,000. The rest of the debt remains outstanding.

NBBMMs could not recall how he received the fraudulent letter from GLOBAL
ATLANTIC FINANCIAL GROUP (GAFG) about the transfer of $102,597.17. He
thinks ROSENBAUM may have given it to him in person. Likewise,

ROSENBAUM probably gave Ne: the fraudulent 1099 in person.
i believes most of the documentation he received from ROSENBAUM was
provided by ROSENBAUM in person.

NE s received a package mailed through the United States Postal
Service, with an estimated delivery date on the envelope of June 10, 2019.
The package contained two empty folders from GAFG. The return address was
ROSENBAUM, HB mz. a Shorewood, Wisconsin 53211. Ns does not

recall if he asked ROSENBAUM why the envelopes from GAFG were empty.

Postman MARCUS WHEELER found a package in vis: mailbox
from ROSENBAUM's Milwaukee address that did not have any postage paid.
WHEELER brought the package to Ns door and hand-delivered it despite the
lack of postage. a: believes ROSENBAUM physically put the envelope in
ii: mailbox. The package contained a copy of mm i: GAFG policy

Investigationon 03/10/2021 at Libertyville, Illinois, United States (In Person)

File# 318B-CG-3229330 Date drafted 03/10/2021

by Lisa M. Strong, BALINAO TRACY L

This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not

to be distributed outside your agency.

FBI_001-000806
Case: 1:21-cr-00239 DoGurgeatGé 7222 BRaD Saal 2zBPage 5 of 7 PagelD #:323

FD-302a (Rev. 5-8-10)

318B-CG-322 9330
Continuation of FD-302 of (U) mm NE; On 03/10/2021 . Page 2 of 2

#7350000901 and the fraudulent GAFG policy #7350008221. wNMMMIs received the
package on January 16, 2021.

The interviewing agents showed NB a copy of the GAFG Annuity
Suitability Questionnaire and Acknowledgment for i ; policy #7350000901
which showed her occupation as "retired teacher". NE stated that JOANN
was never a teacher. She worked at the local library for 25 years.

FBI_001-000807
Case: 1:21-cr-00239 DooUB RITE: F220 Bbw Setia0/24 Page 6 of 7 PagelD #:324

-1 of 2-
FD-302 (Rev. 5-8-10)

FEDERAL BUREAU OF INVESTIGATION

Date of entry 06/05/2023

RED i, date of birth (DOB) , was interviewed by
phone at cellular telephone number After being advised of

the identity of the interviewing Agent and the nature of the interview,
NEE provided the following information:

iii: wife, =! Ns mm, passed away during the Fall 2022 from

Alzheimer's. iii and mm were married for 64 years.

Due to her advancing Alzheimer's, had to put sii in an assisted
care facility for the last three years of her life. Nis moved her to
facility located in Wisconsin because the facility was more affordable and
had vacancies. The assisted living facility was 30 miles away from where

NEE lived. NE visited 7 once a week at minimum. It was

challenging to drive so far to see her, but Na could not afford to send
Jo a closer facility.

The first year of care at the assisted living facility cost approximately
$60,000. The second year cost $68,000. The third year cost $75,000.
iii: counted on having 7 - annuity to help pay for her care at the
assisted living facility. If NQb had the money from ds annuity, he
would have been able to afford to send her to a much closer facility. Asa
result of the funds that DANIEL ROSENBAUM took instead of investing on
i ; behalf, a: did not have enough money to pay for the assisted
living facility. im: son and daughter gave him money to pay for his
wife's care in Wisconsin. NE was fortunate that his son has a business
that he recently sold and his daughter is a physician, so they could step in
and help him pay for Q's care. N@MP children do not want to be
repaid, but a wants to pay back all of the money.

ml ; disease progressed rapidly when she was institutionalized. She
required assistance eating, bathing, and dressing herself.

NE s was surprised that ROSENBAUM took the money. i thought of
ROSENBAUM as a close friend. Na: was even more surprised that ROSENBAUM
admitted to him that ROSENBAUM took the money and offered to pay Ng

Investigationon 06/05/2023 a Orland Park, Illinois, United States (Phone)

File # 318B-CG-3229330 Date drafted 96/05/2023

by SHANAHAN, KELLY ANNE

This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
to be distributed outside your agency.

FBI_006-000073
FD-302a (Rev. s-8-19 ASE: 1:21-cr-00239 Dug et G- F220B ib Sekriap/24 Page 7 of 7 PagelD #:325

318B-CG-3229330
(U) Interview of RAK Ns on June 5,

Continuation of FD-302 of 2923 On 06/05/2023 , Page 2 of Z

back.

FBI_006-000074
